
23 So.3d 926 (2009)
STATE of Louisiana
v.
Darrin ROBINSON.
No. 2009-KO-0628.
Supreme Court of Louisiana.
December 17, 2009.
Granted in part. This case is remanded to the court of appeal to address specifically defendant's assignment of error that the trial court erred by permitting him to assert his right to self-representation without assuring itself that defendant made a knowing and intelligent waiver of his right to counsel because "he kn[ew] what he [was] doing and his choice [was] made with eyes open." Faretta v. California, 422 U.S. 806, 835, 95 S.Ct. 2525, 2541, 45 L.Ed.2d 562 (1975) (internal quotation marks and citation omitted); State v. LaFleur, 391 So.2d 445, 448 (La.1980) ("There should be some indication that the trial judge tried to assess the defendant's literacy, competency, understanding and volition before he accepted the waiver of counsel.") (citation omitted).
KIMBALL, C.J., would deny.
GUIDRY, J., would deny.
CLARK, J., would deny.
